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IN THE SUPERIOR COURT OF BIBB COUNTY “RAS OF Fy CE
STATE OF GEORGIA AUS 25. 209s
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LETTY BROOKER 5188 COUNTY SOR a
Plaintiff, CIVIL ACTION NO.
vs. HFC VROR LS
WESTERN EXPRESS, INC., JURY TRIAL DEMANDED
CONTINENTAL CASUALTY COMPANY,
and JOSEPH FLETCHER
Defendant. SIZEMORE
COMPLAINT FOR DAMAGES

COMES NOW plaintiff, Letty Brooker, and files this her Complaint for Damages against
Defendants Joseph Fleteher, Western Express, Inc., and Continental Casualty Company,
respectfully showing the following:

JURISDICTION AND VENUE

1.

The Defendant, Western Express, Inc. is a motor common carrier operating at all relevant
times under U.S. D.O.T. Number 51 1412. Defendant Western Express, Inc is a foreign corporation
with a registered agent in the State of Georgia to wit: Bruce E, Mitchell, Mitchell & Associates,
3390 Peachtree Road, Suite 520, Atlanta, Georgia.

2.

Additionally, Defendant Western Express may be served by serving its registered agent in
the State of Tennessee, Roland M. Lowell, 19" Floor, 1* American Center, Nashville, Tennessee
37238. Defendant Western Express, Inc. is subject to jurisdiction and vere in the Superior Court

of Bibb County, Georgia.
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3.

At all relevant times, Defendant Continental Casualty Company had in full force and effect.
a policy of motor vehicle liability insurance, which policy was for the protection of the general
public against injury proximately caused by the negligent operation of tractor trailer vehicles by
agents and employees of the defendant motor common carrier, Western Express, Inc.; and,
Defendant Continental Casualty Company having provided said policy as direct obligation
insurance, is liable to suit in this case in the Superior Court of Bibb County, Georgia, in accordance
with O.C.G.A.8 46-7-12, Said defendant may be served by serving its registered agent, CT
Corporation, 1201 Peachtree Street, N.E., Atlanta, Georgia.

4,

The Defendant, Joseph S. Fletcher, is a citizen and resident of the State of Alabama. He
may be served pursuant to applicable law, including O,C.G.A. § 9-10-91, et seq., at 5520 Frankfirt
Road, Tuscumbia, Alabama, or at 22277 Al Highway 101, Lot 17, Town Creek Alabama, or
wherever he may be found. Said defendant is subject to jurisdiction and venue in this court.

5.
By virtue of the aforesaid and the joint and several liability of the defendants, venue is

properly laid in the Superior Court of Bibb County, Georgia.

GENERAL ALLEGATIONS
6.
By virtue of the facts alleged herein, Defendants have‘injured and damaged Plaintiff in an
amount to be determined by the enlightened consciences of impartial jurors.
7.
Broadway Street is a multi-lane roadway that rums generally in a north-south direction

through Bibb County, Georgia.
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8.

Guy Paine Road is a multi-lane roadway that rums generally in an east-west direction

’ through Bibb County, Georgia.

9.

Guy Paine Road intersects Broadway Street at one point in Bibb County, Georgia,
10.

On September 22, 2003, at approximately 3:02 am., Plaintiff Letty Brooker was traveling in
a southerly direction on Broadway Street approaching the intersection of Broadway Street and Guy

’ Paine Road.
11.

At that same time, Defendant Joseph Fletcher was operating a 2000 Freightliner tractor-
trailer in an easterly direction on Guy Paine Road approaching the intersection of Broadway Street
and Guy Paine Road.

12.

At that same time, the traffic light at the intersection of Guy Paine Road and Broadway
Street directed drivers traveling in an easterly direction on Guy Paine Road, including Defendant
Joseph Fletcher, to stop, by virtue of being red for traffic traveling east on Guy Paine Road.

13.

At said time aud place, Defendant Joseph Fletcher, while operating his tractor-trailer
vehicle in the scope of his employment and agency for Defendant Western Express, Inc.,
disregarded the stop light directing him to stop at the intersection on Guy Paine Road and

Broadway Street and drove his tractor-trailer into and through said intersection.
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14,

At said time and place, Defendant Joseph F letcher had an unobstructed sight line to his right
and his left,

15.

At alll relevant times, Plaintiff Letty Brooker had the lawful right of way at the intersection
of Broadway Street and Guy Paine Road.

1 6.

As aresult of Defendant Joseph Fletcher’s disobedience of the red traffic control signal light
directing him to stop, and his negligent and illegal travel into the intersection of Guy Paine Road
and Broadway Street, Plaintiff Letty Brooker was forced to attempt to avoid the tractor trailer
vehicle operated by Defendant Joseph Fletcher, causing her to crash her motorcycle and suffer
personal injuries.

COUNT ONE

PERSONAL INJURY

17.
Paragraphs 1-16 are incorporated herein as if fully set forth verbatim.
. 18.
As a result of said wreck, Plaintiff Letty Brooker suffered personal injuries, including an

injury to her shoulder area. Her medical bills to date total approximately $11,895.00, including the

following:
Medical Center of Central Georgia $4,324.00
Open MRI of Macon $1,850.00
Ocmulgee Medical Pathology $231.00
David Reise, D.C. oy $5.490.00
Total $11,895.00
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19,
As a result of said wreck, Plaintiff Letty Brooker suffered physical and mental pain, and as
_ far as she now knows, will continue to suffer from said injuries and said pain.
20.

A proximate cause of the injuries and damages sustained by Plaintiff Letty Brooker was the
negligence of Defendant Joseph Fletcher, while acting in the scope of his employment and agency
for Defendant Western Express, Inc. and for which all defendants are jointly and severally liable as
a matter of law; and said defendant was negligent in the following several particulars:

‘a) In failing to keep a proper lookout in the direction in which he was traveling; .

b) In failing to have the tractor-trailer vehicle under control at the time and place in

question;

c) In failing to stop the tractor-trailer vehicle in accordance with traffic control devices

in place at the time and place in question;

d) In failing to obey all traffic control devices at such time and place, such conduct

being in violation of a valid, existing statute of the State of Georgia, to wit:
0.C.G.A.§ 40-6-20, which constitutes negligence per se.

COUNT TWO |

PUNITIVE DAMAGES

21.
Paragraphs 1-20 are incorporated herein as if fully set forth verbatim.
22.
Defendant Joseph Fletcher, while acting as an agent or employee of Defendant Western
Express, Inc. with knowledge of his conduct in negligently and recklessly disregarding the traffic
control signal and causing injury to plaintiff, failed to stop his tractor-trailer vehicle at the scene of

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the wreck, and attempted io flee the scene of the wreck, only stopping after being pursued by
witnesses.
23.

Some of the conduct and actions of Defendant Fletcher, for whose conduct Defendant
Western Express, Inc. and Continental Casualty Company are liable, constituted willful misconduct,
malice, fraud, wantonness, oppression, and/or an entire want of care raising a presumption of
conscious indifference to consequences on the part of defendants.

24,

In order to punish and deter defendants from committing wrongful conduct of the type
described herein in the future, punitive damages should be awarded against them in favor of
Plaintiff in an amount to be determined by the enlightened conscience of an impartial jury.

WHEREFORE, Plaintiff prays the issuance and service of summons in terms of law; that
she have trial by jury; that she have a judgment against Defendants in an amount to be determined

by the enlightened conscious of an impartial jury, and such further relief as may be deemed just and

proper, together with costs of this action.

O'NEAL, BROWN & CLARK, P.C.

drome E. Gautreaux
544 Mulberry Street, Suite 100] State Bar No. 297336
Macon, GA 31201-2774 .
478/742-8981 .

J. MICHAEL CRANFORD, SR.

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ATTORNEYS FOR PLAINTIFF
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Please Serve Defendants As Follows:

Joseph Fletcher by serving him personally at: ©
5520 Frankfurt Road
Tuscumbia, Alabama 35674.
OR
Joseph Fletcher
22277 Al Highway 101
Lot 17
Town Creek, Alabama 35672
OR
wherever he may be found

Western Express, Inc. by serving its registered agent for service e of process in the State of Georgia:
Bruce E. Mitchell
Mitchell & Associates
3390 Peachtree Road
Lenox Towers South, Suite 520
Atlanta, Georgia 30326
AND
Western Express, Inc. by serving its registered agent for service of process in the State of
Tennessee:
Roland M. Lowell
19" Floor, 1* American Center
Nashville, TN 37238

Continental Casualty Company by serving its registered agent for service of process:
CT Corporation

1201 Peachtree Street, N.E.

Atlanta, Georgia 30361
